Case: 1:18-CV-O4690 Document #: 23 Filed: 10/15/18 Page 1 of 18 Page|D #:80

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

CHICAGO REGIONAL COUNCIL OF
CARPENTERS
PAINTERS DISTRICT COUNCIL NO. 14,

Plaintiffs,
Case No.: 2018 C 4690

Judge Andrea R. Wood

CFLS EVERGREEN, LLC,

an Illinois limited liability company,
LORMAX STERN DEVELOPMENT
COMPANY, LLC, a limited liability

Michigan corporation

THAIMLE, lNC., an Illinois corporation, d/b/a
LOTUS NAILS & SPA, an Illinois
corporation,

Magistrate Judge Sheila Finnegan

\./\/\./\/\./\/\./\./\/\/\./\./\/\/\./V\./V\/

Defendants.

PAINTERS DISTRICT COUNCIL NO. 14'S
MOTION FOR JUDGMENT IN SUM CERTAIN

NOW COMES the Plaintiff, PAINTERS DISTRICT COUNCIL NO. l4, by and through
its attorney, JOHN J. TOOMEY, ARNOLD AND KADJAN, LLP, and pursuant to FRCP 55 move
for judgment in sum certain as stated in this Motion and the supporting Affldavits attached hereto.
ln support of its Motion, Plaintiff states as follows:

l. Suit was filed on July 9, 2018 for violation of a written Project Labor Agreement
plus attomeys’ fees, costs and interest under 29 U.S.C. l85(a).

2. Service was made upon THAIMLE, INC., an lllinois corporation, d/b/a LOTUS
NAILS & SPA, an Illinois corporation on July 26, 2018. Time to answer or otherwise plead
expired August l4, 2018. The court held Defendant in default on October 2, 2018 and Defendant
and its counsels were so advised by Plaintiff in writing on October 5, 2018. No response was

received.

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3. On August 24, 2018, Sara L. Spitler advised that her firm would be representing

Defendant and sought additional time to appear and answer. Plaintiffs agreed to the extension of
time to September 4, 2018 (Exhibit A).

4. On August 31, 2018 after settlement discussions with Defendant's attomey, a letter
was sent to Ms. Spitler outlining Painters District Council No. 14's position on settlement (Exhibit
B). The extension period passed without an appearance or pleading.

5. On September 12, 2018, after having receive no response from Ms. Spitler,
Plaintiff‘s counsel sent a second request letter regarding Plaintiff‘s settlement demand and advising
of Defendant‘s default (Exhibit C).

6. A second attomey, J ames Roche, telephoned September 17, 2018 advising that he
would be appearing for Lotus Nails and wanted to discuss resolution, but took no action toward
that end. He did not appear in the case.

7. On October 5, 2018 a Notice of Default letter was sent to Defendant and his
counsels No response was received (Exhibit D).

8. Defendant is in default on the Complaint and as supported by the attached
Affidavit the sums due for work performed by non-union tradesmen at Lotus Nails' space in the
Evergreen Park Plaza are:

Painting: 2 men for 2 weeks @ 40 hours per week = 160 hours x $74.05 = $l 1,848.00

Taping: 2 men for 2 weeks @ 40 hours per week = 160 hours x $73.82 : $11,811.20

Sign
Painters: 2 men for 2 days @ 8 hours per day = 32 hours x $43.98 = $1,407.36
$25,066.56
Reliant Services (Service of Process) $89.00

Total $25,155.56

Case: 1:18-CV-O4690 Document #: 23 Filed: 10/15/18 Page 3 of 18 Page|D #:82
WHEREFORE, Plaintiffs pray for:

1. Entry of judgment against Defendant, THAIMLE, INC., an Illinois corporation,
d/b/a LOTUS NAILS & SPA, an lllinois corporation, and in favor of Plaintiff, PAINTERS
DISTRICT CGUNCIL NO. 14 in the amount of $25,155.56.

PAINTERS DISTRICT COUNCIL
NO. l4, Plaintiff

s/John J. Toomey

Arnold and Kadj an, LLP

35 E. Wacker Drive

Suite 600

Chicago, Illinois 60601
Telephone No.: (312) 236-0415
Facsimile No.: (312) 341-0438
Dated: October 15, 2018

 

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EXHIBIT A

 

10’11’2°18 Case: 1:13-@\/-04690 Documem #: §§'iiii%'ui°?l'tf/’ii's‘?&l‘§“i‘-‘»age 5 of 13 Pagelo #:34

RE: 2018 CV 4690; Chicago Regiona| Council of Carpenters and Painters District Council No.

Sara Spitler <SSpit|er@sosinarno|d.com>
Wed 8/29/2018, 1:29 Pl\/|

To: John Toomey <jtoomeleO@hotmai|.com>; tketterman@mkr|aborlaw.com <tketterman@mkr|abor|aw.com>

lam just following up on my below email, to which | have received no response.

l Sosu~s.
A l Aimou)&
S | Sc'i~sc)wm;ck…,
$a'ra L. Spit[er
sosiN, ARNOLD & SCHOENBECK, LTD.

9501 vv. 144"‘ P\ace, suite 205
Orland Park, illinois 60462

(708) 448~8141

Fax; (708) 443*8140

Email: sspitler@sosinarnold.com

From: Sara Spitler

Sent: l\/|onday, August 20, 2018 2119 PM

To: 'John Toomey' <jtoomeleO@hotmai|.com>; 'tketterman@mkr|aborlaw.com' <tketterman@mkrlaborlaw.corn>
Subject: RE: 2018 CV 4690; Chicago Regiona| Council of Carpenters and Painters District Council No. 14 v. CFLS Evergreen,
et al

Gentlemen: Thank you both for your agreement to the extension. l am wondering if it would be possible to schedule a
conference call to discuss this case. |\/ly c|ient's build~out work is done, so l am curious as to what relief is being sought.
Also, my client is not a direct party to the contract upon which the lawsuit is premised Thus, l would like to see whether
there is an opportunity to resolve this case. Please let me know what would work for you.

Rega rds,

1 Sc)sn~e.

SA l ARNOLD eli

S § S<Aut'):£Nli£t?K nw
Sara L. Spit[er
SOSlN, ARNOLD & SCHOENBECK, LTD.
9501 w. 144“‘ P\ace, suite 205
Orland Park, ||linois 60462
(708) 448-8141
Fa><; (708) 448-8140
Emai|: sspit|er@sosinarnold.com

 

From: John Toomey imai|to:itoomeleO@hotmail.coml
Sent: Thursday, August 16, 2018 1:04 PM

httpS://Outlook.live.com/mai|/id/AQ|V|kADAwATEZZTMwLWZhZTMlYTU2YiOwMA|tM DAKAEYAAAMPQCKQ4SKERLPNBEZaTaZgBWB7AQGd77C°/02F . ..

1/3

tom/2018 Case: 1:13-@\/-04690 Documem #:“T§'Iiilt£d?°ftitlé>t_t'a°i>age 6 of la PagelD #:as

To: Sara Spitler <§pit|er@sosinarnold.com>
Subject: Re: 2018 CV 4690; Chicago Regiona| Council of Carpenters and Painters District Council No. 14 v. CFLS Evergreen,
et al

1 have no objection to the extension of time until September 4, 2018.

John J. Toomey

Arno|d and Kadjan, LLP
35 E. Wacker Drive
Suite 600

Chicago, |L 60601
(312) 236-0415

TH|S E|VlA|L AND ANY F|LES TRANSM|TTED |S lNTENDED ONLY FOR THE USE OF
THE ADDRESSEE. |T MAY CONTA|N PRlV|LEGED OR CONF|DENT|AL |NFORN|AT|ON
THAT |S EXE|\/|PT FRO|\/| D|SCLOSURE. Dissemination, distribution or copying of this
message by anyone other than the addressee is strictly prohibited lf you received this
message in error, please notify us immediately by replying: "Received in error" and delete
the message. Thank you.

 

From: Sara Spitler <S_Spi_t|c;@sosinarno|d.com>

Sent: Thursday, August16, 2018 11:32 AM

To: jtoomey_lO_O@hotmail.com

Subject: FW: 2018 CV 4690; Chicago Regional Council of Carpenters and Painters District Council No. 14 v. CFLS Evergreen,

et al

l\/lr. Toomey: 1 forwarded the below request to you on Tuesday_, and the email was only just
returned to me as undeliverable (at which point I realized that _I failed to spell Hotmail
correctly). l\/Ir. Ketterman has already responded that he is ok with the proposed extension.
Please let me know if this is acceptable to you as soon as possible Thank you.

SOSlN,
A§ l ./\RNO[..[)&
S(li()lNH!;( K im

Sara L. S]Jit[er
SOSlN, ARNOLD & SCHOENBECK, LTD.

9501 W. 144th Place. suite 205
Orland Park, illinois 60462

(708) 448-8141

Fax: (708) 448-8l40

Email: s_spitler@sosinarnold.com

 

https://outlook.|ive.cOm/mail/id/AQMkADAwATEZZTMwLWZhZTMtYTU2YiOwMA|tM DAKAEYAAAMPQCKQ4SKERLPNBEZaTaZgBWB7AQSd77C%2F. .. 2/3

1041/2018 Case: 1:13-@\/-04690 Documem #:Mz"‘§'ri‘il`§cl‘:’°tbii§l‘t'%°lpage 7 of la PagelD #:ae

From: Sara Spitler

Sent: Tuesday, August 14, 2018 11:19 AM

To: 'tketterman@mkrlaborlaw.com' <tketterrnan@mkrlaborlaw.com>;

' j toomey 1 OO@hotmal.com' <thomeleQ@thmal.ch>

Subject: 2018 CV 4690; Chicago Regional Council of Carpenters and Painters District Council
No. 14 v. CFLS Evergreen, et al

Gentlemen: We represent Thaimle, Inc. dba Lotus Nails & Spa. At present, an answer or other
response to the Complaint is due on August 16, 2018. l am requesting a short extension of
time. 1 see that an extension was granted until September 4 to CFLS Evergreen and am
requesting the same date for response Please let me know as soon as possible if this is
acceptable

, SOSlN,

SAS l Auz~sou,)§.j _

_ § sc_i-¢oz:r~zm~u<m,
Sara L. Spit[er
SOSIN, ARNOLD & SCHOENBECK, LTD.
9501 w. 144th Plaee, suite 205
Orland Park, lllinois 60462
(708) 448-8141
Fax: (708) 448-8140
Email: ssp_itl£@sosinarnold.com

https://outlook.live.com/mail/id/AQMkADAwATEZZTMwLWZhZTMtYTU2Yi0wMA|tM DAKAEYAAAMPQCKQ4SKERLPNBEZaTaZgBWB7AQSd77C%2F. .. 3/3

Case: 1:18-Cv-04690 Document #: 23 Filed: 10/15/18 Page 8 of 18 Page|D #:87

EXHIBIT B

 

Case: 1:18-cv-04690 Document #: 23 Filed: 10/15/18 Page 9 of 18 Page|D #:88

L/\\v OFFiCes

Aiiew<o)iniu) AND H§A\JU)JAN, LLP

HUGH B‘ ARNOLD 35 EAST WACKER DR|VE TELEPHONE (312) 236~0415
"OHN J' TOOMEY FAX 312 341 0438
ooNALD D. scHwAaTz SU'TE 600 l l '

STEVEN F' MCDOWELL (C ]H[ ][(CA(U'(U) ][]L' EMAIL; arno|dandkadianllp@aoi.com
PAUL M. EGAN 60601_2 106

 

JAMES R. ANDERSON ` DAN|EL N. KADJAN
ANDFlEW S. PlGOTT RET|RE01993
BR|AN C. JAMES

August 31, 2018

By email sspitler@sosinarnold.com
and Regular Mail

l\/ls. Sara L. Spitler

Sosm, Arnold & Schoenbeck, Ltd.
9501 W. l44th Place, Suite 205
Orland Park, lllinois 60462

Re: Chicago Regional Council of Carpenters,
et al. v. CFLS Evergreen, et al.
Case No.: 18 C 4690

Evergreen Park Plaza
Settlement Proposal - Lotus Nails

Dear Ivls. Spitler:
Plaintiff Painters District Council No. 14's position on settlement is as follows.

Painters seek pay in lieu of work for all hours worked by non-union tradesmen for painting and
drywall taping.

The_y have estimated that to be:

Painting: 2 men for 2 weeks @ 40 hours per week = 160 hours x $74.05 = $11,848.00

Taping: 2 men for 2 weeks @ 40 hours per week = 160 hours x $73.82 = $1 1,811.20

Sign

Painters: 2 men for 2 days @ 8 hours per day = 32 hours x $43.98 : 31,407.36
$25,066.56

lf you believe the estimated hours do not reflect the actual time Spent, provide the original time
and billing records and job estimates and we will compare the hours.

Case: 1:18-cv-04690 Document #: 23 Filed

Yours truly,

ARNOLD AND KADJAN, LLP

   

/-*"."

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: 10/15/18 Page 10 of 18 Page|D #:89

Case: 1:18-cv-04690 Document #: 23 Filed: 10/15/18 Page 11 of 18 Page|D #:90

lNTERN/\T|ONAL UN|ON OF PAlNTERS AND ALL|ED TRADES

PA| NTERS' DlSTRlCT\ COU NCIL #1 4 _

lOHN SPlROS, lR., BUSINESS MAN)\GER/SECRET/\RY-TREASURER
1456 WEST ADAMS STREET ' CHlCAGO, ILL|NO|S 60607-2897
PHONE: 312-421-0046 ' FAX: 312~_421-7884 ¢. www.pclc“l¢i.€,<)m

   

AFF|L|I\TED WlTH THE CHI§AGO FEDER)\T|ON OF LABOR AND CHlCAGO BU|LD|NG TRADES COUNCIL OF THE AMERlCAN FEDERAT|ONiOF LABO:R

SPECIAL BULLETIN

Effective June 1, 2018 the $1.75 per hour increase will be distributed to wages and benefits as follows:

 

June 1, 2018 to May 31, 2019 New Amount of

NEW PAINTING CONTRACT Rate Total Increase/Deduction
Wages $46.55 $1.00

Welfare Fund 11.81 .25

Pension Fund 11.94 .50

Joint Cooperation 1.51 None

JATC 1.87 None

Education & Scholarship .10 None

lndustry Advancement ._2_7_ None

TOTAL WAGE & BENEFIT PACKAGE $74.05 PER HOUR

DEDUCTIONS FROM EMPLOYEES WAGES

SAVINGS **"' INCREASED FROM $1.00 TO **$2.00 PER HOUR (Deducted from Wages)
Dues Check Off 3°A> of Gross Wages from employees check
L.P.C. (Local Political Committee) .05 hourly - Voluntary deduction from Wages

Painting Contract June 1, 2018 to Mav 31, 2021

Effective June 1, 2018 - May 31, 2019 $l.75 per hour economic increase per above
Effective June l, 2019 - May 31, 2020 $1.75 per hour economic increase

Effective June l, 2020 - May 31, 2021 $2.00 per hour economic increase

Market Recove§y Rate
From June 1, 2017 through May 31, 2019 the $1.20 per hour allocated from the Union wage package to

the LMCC shall continue to fund a market recovery program.

Apprentice Pension/School Hours
From June 1, 2017 through May 31, 2021, which will then expire, the JATC will fund 100% of first year
apprentice pension contributions and 50% of second year apprentice pension contributions

Employer shall pay Well`are contributions for all hours worked and on days on which first and second
year apprentices attend school and 50% of pension contributions for second year apprentices when
attending school. For third year apprentices, the JATC will pay welfare and pension contributions only
when third year apprentices attend school. Employers shall fund all work hours

All other contributions on school hours to the JATC Fund, lndustry Advancement Fund, Scholarship
Fund, and Joint Cooperation Trust Fund shall continue to be paid by employers

WAGES AND BENEFIT DISTRIBUTION TO BE MADE A'I` THE DISCRETION OF THE UNION

The present rate of 2 hours more pay per day for General Foremen, and l hour more per day for Foreman
and one half (1/2) hour more per day for Sub-Foreman, remains unchanged

 

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|NTERNATlONAL UNION OF PA|_NTERS AND A|-LlED TRADES

PA| NTERS’ DlSTRlCTv COU NC|L #1 4

jOl-lN SPiROS, 1R., susiNEss M/\NAcER/sECRETARY-TREASL)RER
1456 WEST ADAMS STREET ‘ CH|CAGO, ll.t.iNOlS 60607-2897
PHONE; 312-421-0046 ~ FAX; 312-421-7884 » www.pdc'14.com .

   

SPECIAL BULLETIN

Effective June l, 2018 the $1.75 per hour increase will be distributed to wages and benefits as follows:

 

June 1, 2018 to May 31, 2019 New Amount of
NEW TAPING CONTRACT Rate Totai Increase
Wages $46.55 $1.00
Welfare Fund 1 1.81 .25
Pension Fund 1 1.94 .50

Joint Cooperation 1.55 None

JATC 1.86 None
Education & Scholarship .08 None
lndustry Advancement ._i§ None

TOTAL WAGE & BENEFIT PACKAGE $73.82 PER HOUR

DEDUCTIONS FROM EMPLOYEES WAGES

SAVINGS *"‘*INCREASED FROM $1.00 TO**$2.00 PER HR (DEDUCTED FROM WAGES)
”" Dues Check Off 3 % of Gross Wages from employees check

L.P.C. (Local Political Comrnittee) .05 hourly - Voluntary deduction from Wages

Taping Contract June 1, 2018 to May 31, 2021

Effective June 1, 2018 ~ May 31, 2019 $1.75 per hour economic increase per above
Eff`ective June 1, 2019 ~ May 31, 2020 $1.75 per hour economic increase

Effective June 1, 2020 » May 31, 2021 $2.00 per hour economic increase

Market Recovel;y Rate
From June 1, 2017 through May 31, 2019 the $1.20 per hour allocated from the Union wage package to

the LMCC shall continue to fund a market recovery program.

Apprentice Pension/School Hours
From June l, 2017 through May 31, 2021 , which will then expire, the JATC will fund 100% of first year

drywall apprentice pension contributions

Employer shall pay Welfare contributions for all hours worked and on days on which first year drywall
apprentices attend school. For second year drywall apprentices, the JATC will pay welfare and pension
contributions only when second year drywall apprentices attend school. Employers shall fund all work
hours on second year drywall apprentices

All other contributions on school hours to the JATC Fund, lndustry Advancement Fund, Scholarship
Fund, and Joint Cooperation Trust Fund shall continue to be paid by employers

WAGES AND BENEFIT DISTRIBUTION TO BE MADE AT THE DISCRETION OF THE UNION

The present rate of 2 hours more pay per day for General Foremen, and 1 hour more per day for Foreman
and one half (1/2) hour more per day for Sub-Foreman, remains unchanged

 

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EXHIBIT C

 

HUGH B. ARNOLD
JOHN J. TOOMEY

Case: 1:18-cv-04690 Document #: 23 Filed: 10/15/18 Page 14 of 18 Page|D #:93

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ARNOLD AND ll§A\in).rAN, 1L1L1[-°

35 EAST WACKER DR|VE TELEPHONE (312) 236-0415

FAX 2 4 ~
ooNALo o. scHWAnTz SU'TE 600 (31 )3 1 0438
STEVEN F_ MCDOWELL l (C]H[][CAG¢@ ][]L EMAIL: arnoldandkad]anltp@ao|.com
PAUL M. EGAN 60601<210()
JAMES Ft, ANDERSON f”` v DANlEL N. KADJAN

 

ANDREW S. PlGOTT RET|RED 1993
BR|AN C. JAMES

September 12, 2018

By email sspitler@sosinarnold,com
and Regular Mail

Ms. Sara L. Spitler

Sosin, Arnold & Schoenbeck, Ltd.
9501 W. 144th Place, Suite 205
Orland Park, lllinois 60462

Re: Chicago Regional Council of Carpenters,
et al. v. CFLS Evergreen, et al.
Case No.: 18 C 4690

Dear Ms. Spitler:

1 have received no response from you regarding Painters District Council No. 14's position on
settlement sent to you on August 31, 2018.

ln addition Defendant Thaimle Inc. d/b/a Lotus Nails & Spa was served with Summons,
Complaint and Notice of Mandatory initial Discovery on July 26, 2018 Time to file an
Appearance and Answer ran August 16,2018.1\10 Appearance or request for an extension of
time has been filed Your client is in default

A Motion for Default Judgment in a Sum Certain in the amounts as outlined in my letter will be
pursued Please contact me to discuss this matter.

Yoizrs truly,
ARNOLD AND KADJAN, LLP
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John/J 100111ey

1161;0¢ ' '
cc: Travis Ketterman

Case: 1:18-cv-04690 Document #: 23 Filed: 10/15/18 Page 15 of 18 Page|D #:94

UNI'I`ED STA'l`ES DISTRICT COURT
NORTHERN DIS'I`RlCT ()F ILLINOIS

CHICAGO REGIONAL COUNCIL
OF CARPENTERS PAINTERS DISTRICT
COUNCIL N(). 14
v Case #: 18 C 4690

CFLS EVERGREEN, LLC, et al
AFFIDAVIT OF SPEC`IAL PROCESS SERVER

Brian Riebel, a licensed lllinois Private Dctective (IL license # 1 15.002394), located at
15774 S. lsagrange Rd., #260, Orland Park, ll, 60462, hereby states as follows:

That l served the within

SUMMONS / COMPLAINT

2. NOTICE OF MANDATORY lNITlAL DlSCOVERY

3. S'l`ANI)ING ORDER REGARDING MANDATORY INITIAL DISCOVERY PILO'I`
PR()JECT

4. MIDP CHECKLIST

_¢

on: 'l`haimle, lnc. d/b/a Lotus Nails & Spa by CORPORATE SERV]CE to its Reg. Agcnt and

President 1`hai Le on 7/26/18.

That the sex, race and approximate age of the person with whom the above documents
were served upon are as follows:

Sex: l\/l Race: Asian Approx. Age: 30’s Other: 5’5”

That the place where and the date and time when the above documents were served upon
the person are as t`ollows:

Placc: Business address: 9530 S. Western Ave., Evergreen Park, IL 60805

Date: 7/26/18 'l`ime: 7:40 p.m.

Under the penalties as provided by law pursuant to Section 1-109 ol` the Codc of Civil
Procedure, the undersigned certified that the statements set forth in this instrument are true and
correct except to matters therein stated to be on information and belief as to such matters the
undersigned certifies as aforesaid that he verily believes the same to be true,

 

 

Special Process Servcr

Case: 1:18-cv-04690 Document #: 23 Filed: 10/15/18 Page 16 of 18 Page|D #:95

AO 440 (Rev. 05/00) Summons in a Civil Aclion

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF ILLINOIS

SUMMONS IN A CIVIL CASE

Chicago Regional Council of Carpenters
Painters District Council No. 14

CASE NUMBERZ 2018 C 4690

V. ASSIGNED JUDGE:
Andrea R. Wood

CFLS Evergreen, LLC, et al. DESIGNATED

MAGIsrRATE JuDGa: Sheila Finnegan

TO§ (Name and address of Dcfcndant)

Thaimle. lnc.` an lllinois corporation,

d/b/a Lotus Nails & Spa, an lllinois corporation
c/o lts Prcsidcnt and chistcred Agcnt

Thai Lc

18206 llummingbird Drive

'1`1`n|ey Park, lllinois 60487

YOU ARE HEREBY SUMMONED and required to serve upon PLAINTlFF’S ATTORNEY (neme and address)

John J. Toomey

Arnold and Kadjan, LLP
35 .E. Wacker Drive
Suite 600

Chicago, lllinois 60601

an answer to the complaint which is herewith served upon you, 21 days after service of this
summons upon you, exclusive of the day of service lf you fail to do so, judgment by default will be taken against you for

the relief demanded in the complaint You must also file your answer with the Clerk of this Court within a reasonable
period of time after service

"§)'i{viri}""‘-
z "”“"-»~;i`*.) '
~` '~.` /{

   

FHOMA: G. BRUTON, CLERK

July 12, 2018

 

(By) DEPU'lY CLERK DATE

 

Case: 1:18-cv-04690 Document #: 23 Filed: 10/15/18 Page 17 of 18 Page|D #:96

EXHIBIT D

 

Case: 1:18-cv-04690 Document #: 23 Filed: 10/15/18 Page 18 of 18 Page|D #:97

HUGH B, ARNOLD
JOHN J. TOON|EY
DONALD D. SCHWAFlTZ
STEVEN F. MCDOWELL
PAUL M. EGAN

 

 

JAMES R. ANDERSON
ANDREW S. PlGOTT
BFi|AN C. JAMES

L,\w OFr-'ices

AinrN¢u))Lin> AND 11\§2\11).11AN,, 1L.1L113’

35 EAST WACKER DF“VE TELEPHONE (312) 236-0415

sums 600 FAX (312) 341~0433
CJHU[<CAG@ ]UL EMAiL; arnoidandkadianup@ao\.ch
60601_2106

 

DANlEL N. KADJAN
RETlFiED 1993

October 5, 2018

CER'I`IFIED MAIL

RETURN RECEIPT REQUESTED and
Regular Mail

Thaimle, lnc., an lllinois corporation,

d/b/a Lotus Nails & Spa, an lllinois corporation
c/o its President and Registered Agent

T hai Le

18206 l-iummingbird Drive

Tinley Park, lllinois 60487

Re: Chicago Regional Council of Carpenters,
et al. v. CFLS Evergreen, et al.
Case No.: 18 C 4690
Dear Sir:
Enclosed please find a copy of Judge Wood‘s October 2, 2018 Order of Default.
Also enclosed please find the following:
1. Aftidavit of Special Process Server.
Summons/Complaint
Notice of Mandatory lnitial Discovery.
Standing Order Regarding Mandatory lnitial Discovery Pilot Project.
MIDP Checklist.
Please contact me upon receipt of this letter to discuss

Yours truly,

ARNEQJ<D AND KADJAN, LLP

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